Case 2:04-cV-02947-.]DB-tmp Document 15 Filed 06/13/05 Pagelon Page|D 6

 
 

iN THE UNITED sTATEs DisTRiCr CoURT F"H’ B"‘“ a D-C-
FoR THE WEK:§§T§§§s;i;\I/§g§ TENNESSEE 05 JUH l 3 PM 3: 314
THMEUSMMTHEWS
dfb/a EXPRESS YOURSELF, W.B. OF i‘r-t, t-.'=t§ivt..=”»i~l.z$
Plaintiff,
v- No. 04-2947
wMQi\/i, rNC.,
afb/a AM 1600,
Defendant.

 

ORDER TO SHOW CAUSE WHY DEFENDANT’S MOTION FOR
JUDGMENT ON THE PLEADINGS OR, IN THE ALTERNATIVE,
FOR SUMMARY JUDGMENT SHOULD NOT BE GRANTED

 

Before the Court is the Defendant’s May 4, 2005 motion for judgment on the pleadings or1
in the alternative, for summary judgment against the Plaintiff. According to the Court's docket, no
response has been filed on behalf of the Plaintiff, even though the deadline for such a response has
expired.' Accordingly, the Plaintiff is hereby directed, within eleven (l l) days of the entry hereof,
to show cause Why the motion referenced herein should not be grantedl Failure of the Plaintift` to
comply in a timely manner With this order may result in dismissal With prejudice of the Plaintiff’ s
claims

ii ls so oRDERED this / '$?`\ day Of u 005.

 

.DA IEL BREEN \
rr D sTATEs DisTRiCr JUDGE

'Under the Local Rules of this district, responses to motions to dismiss or for summary~/"
judgment "must be filed Within thirty days of service of the motion.“ LR?.Z, Local Rules of the
U.S. Dist. Ct. for the W. Dist. ofTenn.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02947 vvas distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Kenny W. Armstrong

CHANCERY COURT7 30TH IUDICIAL DISTRICT
140 Adams Ave.

Rm. 308

l\/lemphis7 TN 38103

Jef Feibelman

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Javier M. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

